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             1     JOSHUA H. LERNER, SBN 220755
                     joshua.lerner@wilmerhale.com
             2     WILMER CUTLER PICKERING
                    HALE AND DORR LLP
             3     One Front Street, Suite 3500, San Francisco,
                   CA 94111
             4     Tel.: 628.235.1000 / Fax: 628.235.1001
             5     H. MARK LYON, SBN 162061
                     mlyon@gibsondunn.com
             6     GIBSON, DUNN & CRUTCHER LLP
                   1881 Page Mill Road
             7     Palo Alto, CA 94304-1211
                   Tel.: 650.849.5300 / Fax: 650.849.5333
             8
                   BRIAN M. BUROKER, pro hac vice
             9       bburoker@gibsondunn.com
                   GIBSON, DUNN & CRUTCHER LLP
           10      1050 Connecticut Avenue, N.W.
                   Washington, D.C. 20036
           11      Tel.: 202.955.8500 / Fax: 202.467.0539
           12      [Counsel appearance continues on next page]
           13      Attorneys for Defendant Apple Inc.
           14                      UNITED STATES DISTRICT COURT
           15            CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION

           16
                   MASIMO CORPORATION,                           CASE NO. 8:20-cv-00048-JVS (JDEx)
           17      a Delaware corporation; and
                   CERCACOR LABORATORIES, INC.,                  APPLE INC.’S REPLY IN SUPPORT
           18      a Delaware corporation,                       OF OBJECTIONS TO SPECIAL
                                                                 MASTER ORDER NO. 16
           19                         Plaintiffs,
                         v.                                      Date: November 21, 2022
           20
                                                                 Time: 1:30 p.m.
           21      APPLE INC.,
                   a California corporation,
                                                                 Non-Expert Discovery Cut-Off: Aug. 12,
           22
                                      Defendant.                 2022
           23                                                    Pre-Trial Conference: Mar. 13, 2023
                                                                 Trial: Mar. 27, 2023
           24
           25                             REDACTED VERSION OF
           26                    DOCUMENT PROPOSED TO BE FILED UNDER SEAL

           27
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                                                                          CASE NO. 8:20-cv-00048-JVS (JDEX)
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             1     BRIAN A. ROSENTHAL, pro hac vice
                    brosenthal@gibsondunn.com
             2     GIBSON, DUNN & CRUTCHER LLP
                   200 Park Avenue
             3     New York, NY 10166-0193
                   Tel.: 212.351.2339 / Fax: 212.817.9539
             4
                   ILISSA SAMPLIN, SBN 314018
             5       isamplin@gibsondunn.com
                   GIBSON, DUNN & CRUTCHER LLP
             6     333 South Grand Avenue
                   Los Angeles, CA 90071-3197
             7     Tel.: 213.229.7000 / Fax: 213.229.7520
             8     ANGELIQUE KAOUNIS, SBN 209833
                    akaounis@gibsondunn.com
             9     GIBSON, DUNN & CRUTCHER LLP
                   2029 Century Park East Suite 4000
           10      Los Angeles, CA 90067
                   Tel.: 310.552.8546 / Fax: 310.552.7026
           11
                   KENNETH G. PARKER, SBN 182911
           12       Ken.parker@haynesboone.com
                   HAYNES AND BOONE, LLP
           13      660 Anton Boulevard Suite 700
                   Costa Mesa, CA 92626
           14      Tel.: 650.949.3014 / Fax: 949.202.3001
           15      MARK D. SELWYN, SBN 244180
                    mark.selwyn@wilmerhale.com
           16      WILMER CUTLER PICKERING
                    HALE AND DORR LLP
           17      2600 El Camino Real, Suite 400
                   Palo Alto, CA 94306
           18      Tel.: 650.858.6000 / Fax: 650.858.6100
           19      NORA Q.E. PASSAMANECK, pro hac vice
                    nora.passamaneck@wilmerhale.com
           20      WILMER CUTLER PICKERING
                    HALE AND DORR LLP
           21      1225 Seventeenth St., Suite 2600
                   Denver, CO 80202
           22      Tel.: 720.274.3152 / Fax: 720.273.3133
           23
           24
           25
           26
           27
           28
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             1                                     I.         INTRODUCTION
             2           Attempting to distract from the issue at hand, Plaintiffs rehash stale disputes
             3     relating to document production that have long been resolved. At this point in the case,
             4     the bottom line is that Apple produced documents collected from Mr. Cook’s files using
             5     the broad search terms that Plaintiffs requested, which resulted in production of nearly
             6     5,000 documents. Yet despite that production (along with other extensive discovery
             7     Plaintiffs have received in this case), Plaintiffs fail to identify a single document on
             8     which Mr. Cook is the only source of relevant information. Indeed, each document to
             9     which Plaintiffs point was either authored by others whom Plaintiffs have already
           10      deposed, or has marginal, if any, relevance to the claims in this case. Plaintiffs’ assertion
           11      that Mr. Cook was directly involved in the “key documents” that Plaintiffs will use at
           12      trial is thus misleading at best. The best document that Plaintiffs have been able to
           13      muster in their unrelenting pursuit of Mr. Cook’s deposition is the single unsolicited
           14      email sent by Dr. Lamego (on which Dr. Lamego himself was deposed) that Plaintiffs
           15      used to justify an expansive search of Mr. Cook’s files in the first place. But nothing in
           16      Mr. Cook’s files or the rest of the voluminous discovery record suggests that Plaintiffs
           17      should be permitted an apex deposition of Apple’s CEO.
           18            Accordingly, Apple respectfully requests that its objections to Special Master
           19      Order No. 16 be sustained, and Plaintiffs prohibited from proceeding with Mr. Cook’s
           20      deposition under the apex doctrine.
           21                                           II.    ARGUMENT
           22            As Apple explained (Dkt. 968 (“Obj.”) at 6-15), Mr. Cook has no relevant, unique
           23      information that would justify his deposition in this case. See K.C.R. v. Cnty. of Los
           24      Angeles, 2014 WL 3434257, at *7 (C.D. Cal. July 11, 2014) (noting that courts require
           25      the requesting party to make a “solid, detailed showing” that the apex witness “has
           26      unique and non-repetitive relevant knowledge that cannot be obtained from other
           27      sources.” (emphasis in original)); see also Celorio v. Google Inc., 2012 WL 12861605,
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             1     at *2 (N.D. Fla. Nov. 19, 2012) (“Even assuming that [CEO has] some knowledge
             2     concerning [relevant facts], this does not demonstrate that [CEO] has unique
             3     knowledge.”).1 Nonetheless, Plaintiffs seek to turn the apex doctrine on its head by
             4     arguing that any “personal knowledge” is sufficient to justify the deposition of the
             5     highest-ranking executive of a company with more than 150,000 employees. See Dkt.
             6     974-1 (“Opp.”) at 6. That is plainly incorrect. An apex deposition is appropriate only
             7     where the high-ranking executive has “unique personal knowledge” that cannot be
             8     “obtained through less intrusive discovery methods.” Friedman v. Old Republic Home
             9     Prot. Co., 2014 WL 12845131, at *3 (C.D. Cal. June 24, 2014).
           10            Plaintiffs claim that “Apple cites no case from anywhere in the country” denying
           11      a deposition in circumstances similar to those here. Opp. 1. That is flat wrong. Apple
           12      cited cases in which the deposition was denied even though the high-ranking executive
           13      had far more knowledge of the relevant facts than the sparse evidence Plaintiffs have
           14      been able to muster in this case. For example, in Abarca v. Merck & Co., a case
           15      involving an environmental contamination at a manufacturing facility, the court granted
           16      a protective order barring the deposition of Merck’s CEO even though the CEO had
           17      signed a memorandum regarding “remediation” of the environmental contamination and
           18      a contract for treatment of the contamination was prepared for the CEO’s signature.
           19      2009 WL 2390583, at *1, 4-5 (E.D. Cal. Aug. 3, 2009) (concluding that “there is no
           20      indication that [CEO] has unique, non-cumulative knowledge simply because his name
           21      appears on three documents”). Similarly, in Bombardier Recreational Products, Inc. v.
           22      Arctic Cat, Inc., the court granted a protective order barring the deposition of the
           23      plaintiff’s President and CEO in a patent infringement action, even though the CEO
           24      completed an evaluation form for the product embodying the patented technology and
           25      compared it to the defendant’s competing product, attended meetings on the
           26
           27      1
                     All emphasis added unless otherwise noted. Numbered exhibits are those attached to
                   the October 24, 2022 Declaration of Nora Passamaneck (Dkt. 966-2) or the Declaration
           28      of Nora Passamaneck filed contemporaneously with this Reply. Lettered exhibits are
                   those attached to the October 31, 2022 Declaration of Adam Powell (Dkt. 974).
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             1     development of that product, and appeared on “over 1,400 documents.” 2014 WL
             2     5685463, at *3 (D. Minn. Sept. 4, 2014).
             3           Plaintiffs, on the other hand, heavily rely on Apple’s briefing in its 2012 litigation
             4     with Samsung as support for their (erroneous) view of the law. See Opp. 5, 7, 11, 15.
             5     But the facts there are readily distinguishable. In that case, Apple offered numerous
             6     documents showing that Samsung’s CEO had specifically overseen Samsung’s “strategy
             7     of considering Apple’s products when creating new Samsung products,” including
             8     emails and meeting minutes indicating that Samsung’s CEO presided over meetings
             9     assessing the features of Samsung’s products against Apple’s products. See Apple Inc.
           10      v. Samsung Elecs. Co., Ltd, 282 F.R.D. 259, 264-265 (N.D. Cal. 2012) (noting that
           11      evidence showed Samsung’s CEO “engaged in ‘the type of hands-on action which
           12      demonstrates the unique personal knowledge required to compel a deposition of a
           13      CEO’”). As discussed in further detail below, there is no evidence that is even remotely
           14      similar here. Plaintiffs have not pointed to a single document or witness testimony
           15      suggesting that Mr. Cook oversaw or was at all involved with any purported
           16      misappropriation of Plaintiffs’ alleged trade secrets. Because Plaintiffs can point to no
           17      evidence indicating that Mr. Cook has unique knowledge of relevant facts that Plaintiffs
           18      could not have obtained (or have not already obtained) through other less burdensome
           19      sources, a protective order is warranted.
           20            A.     Plaintiffs Do Not Show That Mr. Cook Has Unique Information
           21                   Regarding “Apple-Masimo Interactions.”
           22            Apple’s purported “interactions” with Plaintiffs nearly a decade ago provide no
           23      basis for Mr. Cook’s deposition. Plaintiffs first point to an email authored by Adrian
           24      Perica (Apple’s Vice President, Corporate Development) stating that
           25                                                                                    (Ex. 28 at 2;
           26      see Opp. 8), but Plaintiffs notably do not deny that
           27                                                      . See Obj. 7. Thus, while Plaintiffs suggest
           28      that Mr. Cook’s deposition is warranted because Plaintiffs were

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             1                                                                         Mr. Cook is not the
             2     deponent to fill that alleged gap. And Plaintiffs already deposed Mr. Perica (himself a
             3     member of Apple’s Executive Team and an apex witness)—
             4             —extensively on that subject. See Obj. 7-9.
             5           Nor does Mr. Perica’s testimony
             6     Opp. 8.    As an initial matter, Plaintiffs point to no witness whose testimony is
             7     purportedly “inconsistent” with Mr. Perica’s testimony. Nor is Mr. Perica’s testimony
             8     “inconsistent” with the sole email Plaintiffs cite.
             9
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           11                                                       Ex. 27 at 1. As Mr. Perica explained at
           12      length in his deposition—just after the passage to which Plaintiffs point—
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           19                       Mr. Perica further explained that
           20
           21
           22                         Id. at 141:3-11; see also Obj. 7-8 (noting Mr. Perica’s testimony that
           23
           24            Plaintiffs conveniently ignore this testimony and instead argue that they should
           25      be permitted to depose Mr. Cook regarding alleged “inconsistency” between Mr.
           26      Perica’s testimony and Mr. Perica’s own email. That is not the law. Plaintiffs are right
           27      that Affinity Labs of Texas v. Apple, Inc. is distinguishable, but not for the reasons
           28      Plaintiffs suggest. In Affinity Labs, the plaintiff sought to depose Apple CEO Steve Jobs

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             1     regarding alleged “inconsistencies” between other witnesses’ testimony and statements
             2     made by Mr. Jobs. 2011 WL 1753982, at *7-9 (N.D. Cal. May 9, 2011). Even then,
             3     the court found an apex deposition not warranted, explaining that “quibbling over
             4     manufactured differences does not justify deposing Mr. Jobs.” Id. at *8. That is even
             5     more true here, where Plaintiffs have not even pointed to a single statement by Mr. Cook
             6     that evidences the alleged “inconsistencies” on which Plaintiffs’ argument depends.
             7           Apart from Mr. Perica’s email discussed above, Plaintiffs have pointed to no
             8     document—and certainly no document authored by Mr. Cook—that indicates that
             9                                                                    , as Plaintiffs allege. Opp.
           10      9. Mr. Cook should not be forced to sit for a deposition to account for alleged
           11      inconsistencies between the testimony of another witness and a document that witness
           12      authored. Plaintiffs point to Alves v. Riverside County, 2021 WL 3598728 (C.D. Cal.
           13      Apr. 9, 2021) (Opp. 8), which considered whether to order the sheriff’s deposition in a
           14      wrongful death suit involving an individual in police custody. But unlike in Alves, where
           15      a witness testified that the decedent’s cause of death “in this particular case [was]
           16      actually done by the sheriff himself,” no witness testified that Mr. Cook
           17                                           Cf. 2021 WL 3598728, at *5 (ordering sheriff’s
           18      deposition where he had “direct involvement determining that Decedent’s death was a
           19      homicide, which would appear to be an important and central aspect of this case”).
           20            In short, Plaintiffs’ pursuit of Mr. Cook’s deposition on Apple’s “interactions”
           21      with Plaintiffs boils down to a single email that Mr. Cook did not author or receive and
           22      about which Plaintiffs deposed the author—himself a high-ranking executive—at
           23      length. That email provides no basis for Mr. Cook’s deposition.
           24            B.     Plaintiffs Do Not Show That Mr. Cook Has Unique Information
           25                   Regarding Apple’s Alleged “Recruiting” Of Plaintiffs’ Employees.
           26            Plaintiffs’ attempt to string together disparate facts in an effort to paint Mr. Cook
           27      as having unique knowledge regarding Apple’s alleged recruitment of Plaintiffs’
           28      employees also fails. See Opp. 9. Plaintiffs do not deny that their basis for alleging Mr.

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             1     Cook has “unique” information on this topic is a
             2                                                                                               —
             3     both of which occurred nearly a decade ago. See Obj. 10. Nor do Plaintiffs dispute that
             4     they have already received extensive discovery on both points through several other
             5     witnesses, including Dr. O’Reilly and Dr. Lamego themselves. See id. 10-12. Nothing
             6     in Plaintiffs’ opposition suggests any basis for Mr. Cook’s deposition on this topic.
             7           Plaintiffs first point to a generic email in which Mr. Cook
             8                                                                               Apple’s hiring of
             9     Plaintiffs’ former employees Dr. O’Reilly and Dr. Lamego. Not so.
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           20                                                                                       That email
           21      thus has no bearing on Apple’s alleged “recruiting” of Plaintiffs’ employees.
           22            With respect to Dr. O’Reilly, Plaintiffs primarily quibble with Apple’s
           23      characterization of
           24                                   . Opp. 9. But whether
           25
           26      Critically, Plaintiffs have not alleged—and there is no evidence to suggest—that Apple
           27      misappropriated Plaintiffs’ alleged trade secrets
           28                       The relevance of                   to Plaintiffs’ claims is thus specious at

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             1     best. Moreover, to the extent it has any marginal relevance to this case—Plaintiffs have
             2     identified none—Plaintiffs undisputedly inquired about it extensively when they
             3     deposed Dr. O’Reilly. See Obj. 11. Moreover, as Apple explained (Obj. 10-11)—and
             4     Plaintiffs do not deny—Mr. Cook is hardly uniquely situated to address Apple’s overall
             5     recruitment of Dr. O’Reilly. As Dr. O’Reilly stated in a contemporaneous email,
             6
             7
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                                                                                                2
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           10            Plaintiffs again attempt to conjure purported inconsistencies between Dr.
           11      O’Reilly’s testimony and emails either he or individuals other than Mr. Cook authored.
           12      Opp. 10. But once again, the documentary record is perfectly consistent with Dr.
           13      O’Reilly’s testimony.
           14
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           16                                                                               Ex. 38 at 1. Dr.
           17      O’Reilly, in turn, testified—consistently—that
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           20                                                                                        Ex. 62 at
           21      293:3-20.3 At bottom,
           22
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                     Plaintiffs complain that Apple’s executive recruiter Denby Sellers
           24               ” (Opp. 10 n.4), but do not deny that Ms. Sellers was Apple's Rule 30(b)(6)’
                   designee on Apple’s overall recruitment and hiring of Dr. O’Reilly or that Plaintiffs were
           25      free to (and did) question her extensively on that subject during their two separate
                    depositions (in this case and the True Wearables case) of Ms. Sellers on those topics.
           26
                   3 Contrary to Plaintiffs’ assertion (Opp. 10), Dr. O’Reilly later characterized
           27
                                                                                 Ex. 40 at 1; Ex. 41 at
           28      1. Those were Dr. O’Reilly’s words, not Mr. Cook’s, and any questions about them are
                   more properly addressed—and indeed were addressed—to Dr. O’Reilly.
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             3                                 —is a plainly insufficient basis on which to order an apex
             4     deposition of Mr. Cook. Were it otherwise, a CEO could be subject to deposition merely
             5     because he or she met with individuals who may have relevant information.
             6           Plaintiffs’ assertions regarding Dr. Lamego are even more remote. Plaintiffs
             7     identify a single document relating to Dr. Lamego’s alleged recruitment to Apple that
             8     actually included Mr. Cook: an unsolicited email from Dr. Lamego to Mr. Cook,
             9                                              See Ex. 12. Plaintiffs seek to leverage Judge
           10      Early’s earlier ruling regarding production of Mr. Cook’s documents to suggest that
           11      there is a basis for Mr. Cook’s deposition after full and expansive discovery.4 But
           12      Plaintiffs ignore that Judge Early’s prior order resulted in an exhaustive and expansive
           13      search of Mr. Cook’s documents. That search and resulting production of nearly 5,000
           14      documents—which included documents hitting on Plaintiffs’ search terms regardless of
           15      responsiveness—revealed no further involvement by Mr. Cook in Dr. Lamego’s hiring
           16      or recruitment. This fact was also confirmed by multiple witnesses (including Dr.
           17      Lamego himself) under oath, in testimony Plaintiffs have not challenged (and have no
           18      basis to do so). See Obj. 12. Given the complete dearth of any evidence that Mr. Cook
           19      had any involvement in Dr. Lamego’s hiring beyond
           20                                      , there is simply no basis for his deposition. Jeff
           21      Williams—Apple’s COO reporting directly to Mr. Cook and another apex witness who
           22      Plaintiffs deposed—testified that
           23
           24                                Ex. 5 at 54:9-15. That is precisely what the record shows
           25      happened here—
           26
           27      4
                     Plaintiffs also suggest that                                                  Opp.
           28       9. But notably, Mr. Cook was not even a recipient of
                                                  Ex. 33 at 1-2.
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             1
             2           Grasping at straws, Plaintiffs baldly assert that
             3                        Opp. 10. But Plaintiffs fail to mention that none of the cited emails
             4     has anything to do with Plaintiffs’ alleged trade secrets. See Exs. 34, 44, 45. Plaintiffs
             5     make no effort whatsoever to explain how those emails have any relevance to any issue
             6     in this case. And in the only email containing any content authored by Mr. Cook (Ex.
             7     44), Mr. Cook
             8                                                                 See also Obj. 12 n.4. Plaintiffs
             9     also vaguely point to emails Dr. Lamego sent after leaving Apple as justifying Mr.
           10      Cook’s deposition. Opp. 9. But Plaintiffs fail to mention that those emails were
           11      quarantined as spam and transferred to Mr. Cook’s Executive Support Engineer. See
           12      Ex. 4 at 1. As Apple explained (Obj. 15) and Plaintiffs do not dispute, the vast majority
           13      of those documents are indeed spam and have nothing to do with this case. The only
           14      emails Plaintiffs identify from among those spam emails are three unsolicited emails
           15      regarding an unrelated product (Oxxium) that have nothing to do with Plaintiffs’ alleged
           16      trade secrets and that Dr. Lamego sent (unsolicited) to Mr. Cook years after he left
           17      Apple. See Exs. 35-37. Simply put, Mr. Cook has no facts relevant to Dr. Lamego’s
           18      recruitment or hiring that would justify his deposition.5
           19            C.     Plaintiffs Do Not Show That Mr. Cook Has Unique Information
           20                   Regarding Apple’s “Health Strategies.”
           21            Apparently recognizing that apex depositions are routinely denied to explore a
           22      CEO’s knowledge regarding overall product strategy, Plaintiffs argue—for the first time
           23      in their opposition—that Mr. Cook’s deposition is warranted on the subject of Apple’s
           24      “health strategies” because
           25
           26
                   5
                    Plaintiffs criticize Apple’s characterization of the Special Master’s identified topic as
           27      “overbroad” (Opp. 12), yet do not deny that they have only asserted alleged
                   misappropriation based on Apple’s hiring of Dr. O’Reilly and Dr. Lamego. Nor are
           28      “Apple’s recruiting efforts in general are relevant” (id.), as the law does not prohibit
                   hiring (or recruiting) another company’s employees.
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             1                                                                                         Opp.
             2     12. But Plaintiffs have once again failed to point to any particular relevant, unique
             3     information in Mr. Cook’s possession that Plaintiffs cannot obtain (or have not already
             4     obtained) from other sources. Plaintiffs make no attempt whatsoever to tie any such
             5                   to any purported misappropriation of Plaintiffs’ alleged trade secrets.
             6           Moreover, contrary to Plaintiffs’ suggestions, Mr. Mansfield—a third party
             7     witness who retired from Apple years ago—was not the only source of information on
             8     Apple’s “health strategies.” As Apple explained (Obj. 13)—and Plaintiffs do not
             9     dispute—Plaintiffs have deposed over two dozen witnesses, the vast majority of whose
           10      depositions addressed Apple’s “health strategies.” Those depositions include that of
           11      Apple’s Rule 30(b)(6) witness Afshad Mistri on that very topic, “Apple’s business and
           12      marketing plans and strategies for non-invasive parameter monitoring features of the
           13      Apple Watch.” Ex. 6 at 3. While Mr. Mistri testified that
           14                                               (Ex. 53 at 275:15-20), Plaintiffs make no effort
           15      to explain
           16                    Plaintiffs also vaguely point to Mr. Williams’ statement that
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           18                                                              has any bearing on Plaintiffs’
           19      misappropriation claims. In short, Plaintiffs have failed to identify any relevant, unique
           20      information related to “health strategies” that would justify Mr. Cook’s deposition.
           21            D.     Plaintiffs’ Other Attempts To Justify Mr. Cook’s Deposition Fail.
           22            Lacking any evidence that Mr. Cook has unique, relevant knowledge, Plaintiffs
           23      misleadingly cobble together disparate and irrelevant portions of the record in an attempt
           24      to justify Mr. Cook’s deposition. Notably stopping short of arguing that it presents a
           25      basis for Mr. Cook’s deposition, Plaintiffs generically point to testimony of other
           26      witnesses who were purportedly “unable to provide the knowledge that Cook clearly
           27      has.” Opp. 3. But apart from the specific issues addressed above, Plaintiffs make no
           28      effort to explain the relevance of the testimony they identify. That is unsurprising, as

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             1     that testimony provides no basis for Mr. Cook’s deposition.
             2           Plaintiffs first point to Mr. Williams’ testimony that he did not know
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             4                    Opp. 3 (citing Ex. 46 at 31:19-32:1, 33:19-22, 34:11-14, 36:10-12). But,
             5     setting aside Plaintiffs’ failure to explain why this testimony is relevant, in the passage
             6     immediately preceding the one Plaintiffs cite, Mr. Williams explained in detail what
             7     work was necessary:
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           18      Ex. 46 at 30:21-31:18. And while Mr. Williams testified that
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           24                Id. at 32:12-22. Plaintiffs thus obtained substantive answers to the questions
           25      they posed; Mr. Cook’s unspoken “beliefs” are irrelevant.               See Bombardier
           26      Recreational, 2014 WL 5685463, at *3-4 (“[W]hat little of [CEO’s] subjective thoughts
           27      were left unsaid, if any, … is hardly so unique or significant to the present suit as to
           28      outweigh the burden of subjecting [him] to a deposition.”).
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             1           Plaintiffs similarly point to Mr. Perica’s testimony that
             2                                                                                         Opp.
             3     3 (quoting Ex. 29 at 106:18-107:16, 110:18-111:4); see supra p. 6. However, once
             4     again, in the very next passage, Mr. Perica explained that
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             6
             7                            Ex. 29 at 107:18-108:15. Similarly, while Plaintiffs point to third
             8     party Bob Mansfield’s testimony regarding
             9                (Opp. 4), as Apple explained (Obj. 7-9; supra pp. 3-5), Plaintiffs deposed Mr.
           10      Perica (and others) extensively regarding that subject.
           11            Plaintiffs’ reference to David Tom’s testimony is similarly misplaced. See Opp.
           12      4 (citing Ex. 69 at 24:12-19). As Plaintiffs acknowledge, Mr. Tom is
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           16                                                                Mr. Tom further testified that
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           21                                                 Whether Mr. Cook was
           22                                 is wholly irrelevant to Plaintiffs’ claims.
           23                                                                               Moreover, Apple
           24      produced documents from Mr. Cook’s files using Plaintiffs’ search terms (which
           25      included
           26                            An apex deposition is not warranted to ask whether Mr. Cook was
           27      aware of a specific presentation. Plaintiffs could have easily posed that sole question
           28      via interrogatory. See Affinity Labs, 2011 WL 1753982, at *10 (noting plaintiff “could

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             1     have served interrogatories seeking the reasons why Mr. Jobs made the statements”).
             2           Finally, Plaintiffs point to Eugene Kim’s testimony regarding
             3
             4                                   Opp. 4.    However, noticeably absent from Plaintiffs’
             5     submission is                                        . That is unsurprising since neither
             6                             has anything to do with the claims in this case. Plaintiffs make
             7     no effort to show otherwise. Plaintiffs’ identification of Mr. Kim’s testimony as
             8     justifying Mr. Cook’s deposition is a prime example of the overbreadth of the Special
             9     Master’s Order permitting Plaintiffs to depose Mr. Cook on the broad subject of
           10      “Apple’s involvement in healthcare initiatives.” Ex. 68 at 10. That scope captures
           11      subject matter that has no relevance even to Plaintiffs’ trade secret claims, much less to
           12      something on which Mr. Cook has unique, relevant knowledge.
           13            E.     Mr. Cook’s Deposition Is Not Proportional To The Needs Of The
           14                   Case.
           15            Pointing to WebSideStory, Inc. v. NetRatings, Inc., 2007 WL 1120567 (S.D. Cal.
           16      Apr. 6, 2007), Plaintiffs suggest that Mr. Cook’s deposition is proportional to the needs
           17      of the case because he should be able to “spend a few hours” preparing for and attending
           18      a deposition. Opp. 13-14. However, in view of Mr. Cook’s minimal involvement in the
           19      relevant facts and the extensive discovery Plaintiffs have taken in this case, including
           20      Apple’s production of over 280,000 documents and the depositions of more than 20
           21      Apple witnesses (including two high-ranking executives who report directly to Mr.
           22      Cook), Mr. Cook’s deposition is plainly not proportional to the needs of the case.
           23      Indeed, courts routinely find that apex depositions of a CEO pose an undue burden,
           24      rendering them disproportional to the needs of the case. See, e.g., Circle Click Media
           25      LLC v. Regus Mgmt. Grp. LLC, 2014 WL 1340674, at *1-3 (N.D. Cal. Apr. 3, 2014)
           26      (granting protective order because “burden and expense associated with [apex]
           27      deposition far outweighs the relevance of this limited issue” that could be probed by
           28      other means); Bicek v. C & S Wholesale Grocers, Inc., 2013 WL 5425345, at *5-6 (E.D.

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             1     Cal. Sept. 27, 2013) (where plaintiff failed “to make at least some preliminary showing
             2     that the deponent has unique, non-repetitive, first-hand knowledge of facts at issue in
             3     the case[,] … the burdens imposed on [apex witnesses] outweigh the benefits”); see also
             4     Sale v. Merrill Lynch, 2017 WL 10562586, at *2 (C.D. Cal. Nov. 29, 2017) (“Time spent
             5     preparing for and giving a deposition (even if limited to a three-hour period as Plaintiff
             6     proposes) can obviously present a burden ….”). That is particularly true for a CEO of a
             7     company the size of Apple. See Ex. 3 (describing Mr. Cook’s duties as CEO).
             8           WebSideStory is distinguishable on a number of bases. The plaintiff’s executive
             9     in that case was “one of the few remaining company representatives that [had] been with
           10      the company for any period of time,” the plaintiff had identified the executive in its
           11      initial disclosures, “many of the upper level employees … [were] no longer with the
           12      company,” and the executive had been expressly identified by another witness “as being
           13      one of only two people … to have performed a market share analysis” relevant to the
           14      plaintiff’s claims. WebSideStory, 2007 WL 1120567, at *3-4. The facts in that case
           15      bear no resemblance to the facts here. As the court noted in Apple Inc. v. Samsung
           16      Electronics Co., 282 F.R.D. 259, 263 (N.D. Cal. 2012), on which Plaintiffs heavily rely
           17      (see Opp. 5, 7, 11, 13 (citing Ex. C (Apple’s Motion to Compel, Apple Inc. v. Samsung
           18      Elecs. Co., No. 11-cv-1846 (N.D. Cal.)))), “the court must assess not only the materiality
           19      of the proposed deponent’s knowledge of pertinent facts and the availability of other
           20      means for the party to access that knowledge, but—with apologies—the person’s degree
           21      of ‘apex-ness’ in relation to these factors.” There is no question that as Apple’s CEO,
           22      Mr. Cook’s deposition on the issues that Plaintiffs have identified—which have
           23      marginal, if any, relevance to the claims at issue here—would impose a significant
           24      burden.
           25            In re Apple iPhone Antitrust Litigation, 2021 WL 485709 (N.D. Cal. Jan. 26,
           26      2021), on which Plaintiffs rely (Opp. 14), is also readily distinguishable. There, Apple
           27      agreed to present Mr. Cook for deposition; the dispute was not whether Mr. Cook would
           28      be deposed, but the length of the deposition. Id. at *3. Moreover, the court found that

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             1     because the case “challenge[d] an important aspect of Apple’s business model,” the case
             2     did not “involve the traditional apex inquiry into the witness’s participation in or
             3     knowledge about this or that historical decision.” Id. In contrast, here, this case concerns
             4     Plaintiffs’ specific trade secret allegations, not Apple’s overall business model.
             5           Finally, Plaintiffs’ suggestion that they are entitled to depose Mr. Cook because
             6     Apple deposed Plaintiffs’ CEO Joe Kiani is similarly misplaced. There is an obvious
             7     and key distinction between Mr. Kiani and Mr. Cook.
             8                                                                          See Ex. 23 at 3-4. In
             9     fact, Plaintiffs apparently intend to make Mr. Kiani one of their central witnesses.
           10
           11                                               Ex. 70 at 1-10. In very stark contrast, Apple has
           12      made abundantly clear that Mr. Cook has no relevant information.
           13                                       III.   CONCLUSION
           14            For the foregoing reasons, Apple respectfully requests that the Court sustain
           15      Apple’s objections to the Special Master’s Discovery Order No. 16.
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             1     Dated: November 7, 2022            Respectfully submitted,
             2
                                                      H. MARK LYON
             3                                        BRIAN M. BUROKER
             4                                        BRIAN A. ROSENTHAL
                                                      ILISSA SAMPLIN
             5                                        ANGELIQUE KAOUNIS
             6                                        GIBSON, DUNN & CRUTCHER LLP
             7                                        KENNETH G. PARKER
             8                                        HAYNES AND BOONE, LLP
             9                                        MARK D. SELWYN
           10                                         JOSHUA H. LERNER
                                                      NORA Q.E. PASSAMANECK
           11                                         WILMER CUTLER PICKERING HALE AND
           12                                         DORR LLP
           13
           14                                         By: /s/ Mark D. Selwyn
                                                          Mark D. Selwyn
           15
           16
                                                      Attorneys for Defendant Apple Inc.
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